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              14                           UNITED STATES DISTRICT COURT
              15                        NORTHERN DISTRICT OF CALIFORNIA
              16                               SAN FRANCISCO DIVISION
              17

              18                                                 Master File 3:20-cv-01626-JD
                   IN RE ROBINHOOD OUTAGE
              19   LITIGATION
                                                                 DEFENDANTS’ ANSWER TO THE
                                                                 CONSOLIDATED CLASS ACTION
              20                                                 COMPLAINT
              21                                                 DEMAND FOR JURY TRIAL
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                  1          Defendants Robinhood Financial LLC (“Robinhood Financial”) and Robinhood Securities,

                  2 LLC (“Robinhood Securities”) (collectively, “Robinhood”) by their undersigned attorneys, for their

                  3 Answer to the Consolidated Class Action Complaint, state as follows:

                  4          1.     Deny the allegations in Paragraph 1, except admit that Plaintiffs purport to allege

                  5 claims on behalf of the putative class described against the named defendants, admit that Plaintiffs

                  6 demand a trial by jury, deny knowledge or information as to the basis of Plaintiffs’ allegations, and

                  7 note that Robinhood Markets, Inc. is no longer a defendant in this lawsuit.

                  8          2.     Deny the allegations in Paragraph 2, except admit that Financial Industry Regulatory

                  9 Authority, Inc. (FINRA) is a private corporation that acts as a non-governmental, self-regulatory

              10 organization that regulates member brokerage firms and exchange markets, admit that Robinhood

              11 Financial and Robinhood Securities are FINRA-regulated broker-dealers, admit that Robinhood

              12 Financial customers can place securities trades commission-free through the firm’s website and by

              13 using web-based applications (the “Robinhood Trading Platform”), admit that Robinhood Financial

              14 permits customers to purchase and sell certain securities, admit that Robinhood Financial permits

              15 some customers to purchase and sell options contracts and permits some customers to engage in

              16 trading on margin, and admit that Robinhood has no customer-facing offices.

              17             3.     Deny the allegations in Paragraph 3, except admit that the Robinhood Trading

              18 Platform experienced an outage during portions of March 2, 2020 and March 3, 2020 (the “March

              19 2-3 Outage”) during which some customers were unable to buy or sell securities through the
              20 Robinhood Trading Platform.

              21             4.     Deny the allegations in Paragraph 4, except admit that Robinhood’s Trading Platform

              22 experienced outages during a portion of March 9, 2020 (the “March 9 Outage”) and June 18, 2020,

              23 and admit that Plaintiffs purport to seek damages related to the March 2-3 Outage and the March 9

              24 Outage (collectively, the “March 2020 Outages”).

              25             5.     Deny the allegations in Paragraph 5, except deny knowledge or information

              26 sufficient to form a belief as to the truth of the allegations regarding what Plaintiffs or other

              27 customers attempted to do during the March 2020 Outages, admit that the Help Center was

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                  1 unavailable during the March 2-3 Outage, and admit that some customers were unable to buy or sell

                  2 securities through the Robinhood Trading Platform during the March 2020 Outages.

                  3          6.     Deny the allegations in Paragraph 6, except admit that during the March 2020

                  4 Outages, some customers were unable to buy or sell securities through the Robinhood Trading

                  5 Platform or exercise options, and deny knowledge or information sufficient to form a belief as to

                  6 whether Plaintiffs received trade confirmations for the unidentified trades orders “placed before the

                  7 Outages” or “during the Outages.”

                  8          7.     Paragraph 7 states legal conclusions to which no response is necessary. To the extent

                  9 any response to the allegations contained in Paragraph 7 is necessary, Defendants deny them, except

              10 admit that during the March 2020 Outages, some customers were unable to buy or sell securities

              11 through the Robinhood Trading Platform or exercise options.

              12             8.     Paragraph 8 states legal conclusions to which no response is necessary. To the extent

              13 any response to the allegations contained in Paragraph 8 is necessary, Defendants deny them, except

              14 admit that during the March Outages, some customers were unable to buy or sell securities through

              15 the Robinhood Trading Platform or exercise options, admit that certain options contracts tracking

              16 the S&P 500 expired during the March 2-3 Outage.

              17             9.     Deny the allegations in Paragraph 9, respectfully refer the Court to the July 8, 2020

              18 New York Times article and the March 10, 2020 Bloomberg article for their complete contents, and

              19 deny knowledge or information sufficient to form a belief as to whether unnamed “Robinhood
              20 employees” made the statements quoted in the July 8, 2020 New York Times article.

              21             10.    Paragraph 10 states legal conclusions to which no response is necessary. To the

              22 extent any response to the allegations contained in Paragraph 10 is necessary, Defendants deny

              23 them.

              24             11.    Deny the allegations in Paragraph 11, except admit Plaintiffs purport to assert claims

              25 including negligence, breach of contract, breach of fiduciary duty, and violations of California’s

              26 Unfair Competition Law on behalf of the putative class described, and admit Plaintiffs purport to

              27 seek damages, restitution, disgorgement and declaratory relief.

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                  1         12.     Deny knowledge or information sufficient to form a belief as to the truth of the

                  2 allegations contained in Paragraph 12.

                  3         13.     Deny knowledge or information sufficient to form a belief as to the truth of the

                  4 allegations contained in Paragraph 13.

                  5         14.     Deny knowledge or information sufficient to form a belief as to the truth of the

                  6 allegations contained in Paragraph 14.

                  7         15.     Deny knowledge or information sufficient to form a belief as to the truth of the

                  8 allegations contained in Paragraph 15 and note that David Kostenko is no longer a Plaintiff.

                  9         16.     Deny knowledge or information sufficient to form a belief as to the truth of the

              10 allegations contained in Paragraph 16.

              11            17.     Deny knowledge or information sufficient to form a belief as to the truth of the

              12 allegations contained in Paragraph 17.

              13            18.     Deny knowledge or information sufficient to form a belief as to the truth of the

              14 allegations contained in Paragraph 18.

              15            19.     Deny knowledge or information sufficient to form a belief as to the truth of the

              16 allegations contained in Paragraph 19.

              17            20.     Deny knowledge or information sufficient to form a belief as to the truth of the

              18 allegations contained in Paragraph 20.

              19            21.     Deny knowledge or information sufficient to form a belief as to the truth of the
              20 allegations contained in Paragraph 21.

              21            22.     Deny knowledge or information sufficient to form a belief as to the truth of the

              22 allegations contained in Paragraph 22.

              23            23.     Deny knowledge or information sufficient to form a belief as to the truth of the

              24 allegations contained in Paragraph 23.

              25            24.     Deny knowledge or information sufficient to form a belief as to the truth of the

              26 allegations contained in Paragraph 24.

              27            25.     Deny knowledge or information sufficient to form a belief as to the truth of the

              28 allegations contained in Paragraph 25.
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                  1         26.    Deny knowledge or information sufficient to form a belief as to the truth of the

                  2 allegations contained in Paragraph 26.

                  3         27.    Deny knowledge or information sufficient to form a belief as to the truth of the

                  4 allegations contained in Paragraph 27.

                  5         28.    Admit.

                  6         29.    Deny the allegations in Paragraph 29, except admit that Robinhood Securities is a

                  7 Delaware corporation, admit that Robinhood Securities has an office at 500 Colonial Center

                  8 Parkway, Suite 100, Lake Mary, Florida 32746, admit that Robinhood Securities is a wholly-owned

                  9 subsidiary of Robinhood Markets, and note that Robinhood Markets is no longer a defendant in this

              10 lawsuit.

              11            30.    Admit, except note that Robinhood Markets is no longer a defendant in this lawsuit.

              12            31.    Paragraph 31 states legal conclusions to which no response is necessary. To the

              13 extent any response to the allegations contained in Paragraph 31 is necessary, Defendants deny,

              14 except admit that this Court has subject matter jurisdiction over this matter.

              15            32.    Paragraph 32 states legal conclusions to which no response is necessary. To the

              16 extent any response to the allegations contained in Paragraph 32 is necessary, Defendants deny,

              17 except admit that this Court is the proper venue for this action.

              18            33.    Paragraph 33 states legal conclusions to which no response is necessary. To the

              19 extent any response to the allegations contained in Paragraph 33 is necessary, Defendants deny,
              20 except admit that this Court has personal jurisdiction over Robinhood Financial and Robinhood

              21 Securities.

              22            34.    Paragraph 34 states legal conclusions to which no response is necessary. To the

              23 extent any response to the allegations contained in Paragraph 34 is necessary, Defendants deny,

              24 except admit that an intradistrict assignment to the San Francisco Division is appropriate.

              25            35.    Deny the allegations in Paragraph 35, except admit that Robinhood Financial was

              26 founded by Vlad Tenev and Baiju Bhatt, who met each other at Stanford University in 2005.

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                  1           36.   Deny the allegations in Paragraph 36, except admit that Robinhood Financial

                  2 customers are able to invest in stocks and exchange traded funds (“ETFs”) through the Robinhood

                  3 Trading Platform, and admit that some Robinhood customers are authorized to invest in options.

                  4           37.   Defendants deny the allegations in Paragraph 37, except admit that Robinhood offers

                  5 commission-free trading, admit that as of July 2020, Robinhood Financial had more than 13 million

                  6 approved accounts on its platform, and admit that in August 2020, Robinhood Markets raised $200

                  7 million in Series G funding which implied an enterprise valuation of $11.2 billion, and deny

                  8 knowledge or information sufficient to form a belief as to commissions charged by “most brokerage

                  9 firms.”

              10              38.   Deny the allegations in Paragraph 38, except admit that Robinhood Financial does

              11 not charge commissions, admit that Robinhood Financial initially allowed customers to trade stocks

              12 and ETFs, and admit that some Robinhood Financial customers are authorized to trade options and

              13 some Robinhood Financial customers are authorized to trade on margin.

              14              39.   Deny the allegations in Paragraph 39, except admit that Robinhood Financial

              15 considers ease of use in designing its applications, and admit that a list of stocks may appear on the

              16 home screen of the Robinhood Trading Platform.

              17              40.   Deny the allegations in Paragraph 40, except admit that an image of confetti appears

              18 to fall from the top of the screen when users claim a referral award.

              19              41.   Deny the allegations in Paragraph 41, except admit that customers are required to
              20 respond to questions as part of the options application process, and respectfully refer the Court to

              21 the July 8, 2020 New York Times article for its complete contents.

              22              42.   Deny the allegations in Paragraph 42, and respectfully refer the Court to the July 8,

              23 2020 New York Times article for its full contents.

              24              43.   Deny the allegations in Paragraph 43, and respectfully refer the Court to the June 17,

              25 2020 Forbes article for its full contents.

              26              44.   Deny the allegations in Paragraph 44, and respectfully refer the Court to the Elite

              27 Trader article for its complete contents.

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                  1          45.    Deny the allegations in Paragraph 45, respectfully refer the Court to the March 3,

                  2 2020 blog post for its full and accurate contents and deny any allegation inconsistent therewith.

                  3          46.    Deny the allegations in Paragraph 46, respectfully refer the Court to the July 8, 2020

                  4 New York Times article for its full contents, deny knowledge or information sufficient to form a

                  5 belief as to the trading behavior of customers of other securities brokers.

                  6          47.    Deny the allegations in Paragraph 47, respectfully refer the Court to the July 8, 2020

                  7 New York Times article for its complete contents.

                  8          48.    Deny the allegations in Paragraph 48, except admit that individuals opening an

                  9 account with Robinhood Financial enter into a Customer Agreement with Robinhood Financial and

              10 Robinhood Securities, and admit that the Customer Agreement has been revised on February 5,

              11 2020, April 28, 2020 and June 22, 2020.

              12             49.    Deny allegations in Paragraph 49, except admit that the learn.robinhood.com website

              13 provides educational information on investing, respectfully refer the Court to the

              14 learn.robinhood.com website for its full and accurate contents and deny any allegation inconsistent

              15 therewith, and respectfully refer the Court to the August 21, 2020 CNBC article for its full and

              16 complete content.

              17             50.    Deny the allegations contained in Paragraph 50, except admit that Robinhood

              18 Financial offers a paid subscription product called “Gold,” admit that Gold subscribers have

              19 increased access to instant deposits, admit that Gold subscribers have access to third-party
              20 investment research and Level II market data, admit that some Gold subscribers are allowed to trade

              21 on margin, and admit that customers with the ability to trade on margin have the ability to buy

              22 securities using money borrowed from the broker.

              23             51.    Deny the allegations in Paragraph 51, except admit that Robinhood Securities

              24 receives payment for order flow, admit that the interest on cash balances in customer accounts is

              25 one of Robinhood’s revenue sources, and admit that payment for order flow is Robinhood’s largest

              26 source of revenue.

              27             52.    Deny the allegations in Paragraph 52, except admit that Robinhood Securities

              28 receives payment for order flow from market makers.
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                  1         53.    Deny the allegations in Paragraph 53, respectfully refer the Court to Rule 606

                  2 disclosures of Robinhood Securities for their full and accurate contents and deny any allegation

                  3 inconsistent therewith.

                  4         54.    Deny the allegations in Paragraph 54, except admit that the Robinhood Trading

                  5 Platform suffered an outage at or about 9:33 AM EST on March 2, 2020, admit that during the

                  6 March 2-3 Outage the Robinhood Trading Platform was unable to process most trade orders, and

                  7 admit that during the March 2-3 Outage some customers were unable to buy or sell securities

                  8 through the Robinhood Trading Platform or exercise options.

                  9         55.    Deny the allegations in Paragraph 55, respectfully refer the Court to the

              10 @AskRobinhood March 2, 2020, 11:02 a.m. EST post on Twitter for its full and accurate contents

              11 and deny any allegation inconsistent therewith.

              12            56.    Deny the allegations in Paragraph 56, except admit that Robinhood Financial emailed

              13 customers on the afternoon of March 2, 2020, respectfully refer the Court to the March 2, 2020

              14 email for its full and accurate contents and deny any allegation inconsistent therewith.

              15            57.    Deny the allegations in Paragraph 57, respectfully refer the Court to the

              16 @AskRobinhood March 2, 2020, 4:07 p.m. EST post on Twitter for its full and accurate contents

              17 and deny any allegation inconsistent therewith.

              18            58.    Deny the allegations in Paragraph 58, respectfully refer the Court to the

              19 @AskRobinhood March 3, 2020, 2:19 a.m. EST post on Twitter for its full and accurate contents
              20 and deny any allegation inconsistent therewith.

              21            59.    Deny the allegations in Paragraph 59, except admit that Robinhood Financial emailed

              22 customers on the morning of March 3, 2020, respectfully refer the Court to the March 3, 2020 email

              23 for its full and accurate contents and deny any allegation inconsistent therewith.

              24            60.    Deny the allegations in Paragraph 60, respectfully refer the Court to the

              25 @AskRobinhood March 3, 2020, 10:11 a.m. EST post on Twitter for its full and accurate contents

              26 and deny any allegation inconsistent therewith.

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                  1         61.    Deny the allegations in Paragraph 61, respectfully refer the Court to the

                  2 @AskRobinhood March 3, 2020, 11:35 a.m. EST post on Twitter for its full and accurate contents

                  3 and deny any allegation inconsistent therewith.

                  4         62.    Deny the allegations in Paragraph 62, respectfully refer the Court to the

                  5 @AskRobinhood March 3, 2020, 11:54 a.m. EST post on Twitter for its full and accurate contents

                  6 and deny any allegation inconsistent therewith.

                  7         63.    Deny the allegations in Paragraph 63, respectfully refer the Court to the

                  8 @AskRobinhood March 3, 2020, 10:23 a.m. post on Twitter for its full and accurate contents and

                  9 deny any allegation inconsistent therewith.

              10            64.    Deny the allegations in Paragraph 64, except admit that Robinhood’s founders issued

              11 a blog post on March 3, 2020, respectfully refer the Court to the March 3, 2020 blog post for its full

              12 and accurate contents and deny any allegation inconsistent therewith.

              13            65.    Deny the allegations in Paragraph 65, except admit that during the March 9 Outage,

              14 some customers were unable to buy or sell securities through the Robinhood Trading Platform or

              15 exercise options.

              16            66.    Deny the allegations in Paragraph 66, except admit that, according to the CBOE

              17 Global Markets website cited in footnotes 40 and 41, the total volume of shares traded on U.S.

              18 exchanges was 14,163,098,270 shares on March 2, 2020, 14,900,627,470 shares on March 3, 2020,

              19 17,614,290,337 shares on March 9, 2020, 15,821,612,374 shares on February 27, 2020, and
              20 19,357,141,449 shares on February 28, 2020.

              21            67.    Deny the allegations in Paragraph 67, except deny knowledge or information

              22 sufficient to form a belief as to trading volume in 2008.

              23            68.    Deny the allegations in Paragraph 68.

              24            69.    Deny the allegations in Paragraph 69, respectfully refer the Court to the 2020 Annual

              25 Audited Report of Robinhood Securities for its full and accurate contents and deny any allegation

              26 inconsistent therewith.

              27            70.    Deny the allegations in Paragraph 70.

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                  1         71.    Deny the allegations in Paragraph 71, and respectfully refer the Court to the July 8,

                  2 2020 New York Times article for its complete contents.

                  3         72.    Deny the allegations in Paragraph 72, respectfully refer the Court to the July 8, 2020

                  4 New York Times article for its complete contents, and deny knowledge or information sufficient to

                  5 form a belief as to whether unnamed “Robinhood employees” made the statements quoted in the

                  6 July 8, 2020 New York Times article.

                  7         73.    Deny the allegations in Paragraph 73, except admit that Robinhood Financial offered

                  8 certain customers a “goodwill credit.”

                  9         74.    Deny the allegations in Paragraph 74, except admit that Robinhood Financial sent an

              10 email to some customers on March 23, 2020, and respectfully refer the Court to the March 23, 2020

              11 email for its full and accurate contents and deny any allegation inconsistent therewith.

              12            75.    Deny the allegations in Paragraph 75.

              13            76.    Paragraph 76 states legal conclusions to which no response is necessary. To the

              14 extent any response to the allegations in Paragraph 76 is necessary, Defendants deny them, except

              15 admit that Robinhood Financial and Robinhood Securities are broker-dealers.

              16            77.    Paragraph 77 states legal conclusions to which no response is necessary. To the

              17 extent any response to the allegations in Paragraph 77 is necessary, Defendants deny them, and

              18 respectfully refer the Court to the SEC September 9, 1998 bulletin for its full and complete contents.

              19            78.    Paragraph 78 states legal conclusions to which no response is necessary. To the
              20 extent any response to the allegations in Paragraph 78 is necessary, Defendants deny them, and

              21 respectfully refer the Court to the National Association of Securities Dealers 1999 Notice to

              22 Members for its complete contents.

              23            79.    Paragraph 79 states legal conclusions to which no response is necessary. To the

              24 extent any response to the allegations in Paragraph 79 is necessary, Defendants deny them, and

              25 respectfully refer the Court to FINRA Rule 5310 for its complete contents.

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                  1         80.     Paragraph 80 states legal conclusions and definitional allegations to which no

                  2 response is necessary. To the extent any response to the allegations in Paragraph 80 is necessary,

                  3 Defendants deny them, and respectfully refer the Court to FINRA Rule 4370 for its complete

                  4 contents.

                  5         81.     Deny the allegations in Paragraph 81, except admit that the document attached as

                  6 Exhibit A is the summary of Robinhood’s written business continuity plan, and admit that the

                  7 Robinhood.com website was inaccessible during portions of the March 2020 Outages.

                  8         82.     Deny the allegations in Paragraph 82, respectfully refer the Court to the current

                  9 business continuity plan summary for its full and accurate contents and deny any allegation

              10 inconsistent therewith.

              11            83.     Paragraph 83 states legal conclusions to which no response is necessary. To the

              12 extent any response to the allegations in Paragraph 83 is necessary, Defendants deny them.

              13            84.     Deny the allegations in Paragraph 84, except admit that Robinhood Financial and

              14 FINRA entered into a “Letter of Acceptance, Waiver and Consent” in December 2019, respectively

              15 refer the Court to that document for its complete contents.

              16            85.     Deny the allegations in Paragraph 85, except admit that there was an outage on the

              17 Robinhood Trading Platform in December 2018 that affected options trading.

              18            86.     Deny the allegations in Paragraph 86.

              19            87.     Deny knowledge or information sufficient to form a belief as to the truth of the
              20 allegations contained in Paragraph 87, except admit that Plaintiff Beckman is a customer of

              21 Robinhood Financial and Robinhood Securities and entered into a Customer Agreement.

              22            88.     Admit that Plaintiff Beckman was a Robinhood Gold subscriber during the March

              23 2020 Outages.

              24            89.     Deny knowledge or information sufficient to form a belief as to the truth of the

              25 allegations contained in Paragraph 89.

              26            90.     Deny knowledge or information sufficient to form a belief as to the truth of the

              27 allegations contained in Paragraph 90.

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                  1         91.    Deny knowledge or information sufficient to form a belief as to the truth of the

                  2 allegations contained in Paragraph 91.

                  3         92.    Deny knowledge or information sufficient to form a belief as to the truth of the

                  4 allegations contained in Paragraph 92, except admit that Plaintiff Gwaltney is a customer of

                  5 Robinhood Financial and Robinhood Securities and entered into a Customer Agreement.

                  6         93.    Deny the allegations in Paragraph 93.

                  7         94.    Deny knowledge or information sufficient to form a belief as to the truth of the

                  8 allegations contained in Paragraph 94.

                  9         95.    Deny knowledge or information sufficient to form a belief as to the truth of the

              10 allegations contained in Paragraph 95.

              11            96.    Deny knowledge or information sufficient to form a belief as to the truth of the

              12 allegations contained in Paragraph 96.

              13            97.    Deny knowledge or information sufficient to form a belief as to the truth of the

              14 allegations contained in Paragraph 97.

              15            98.    Deny knowledge or information sufficient to form a belief as to the truth of the

              16 allegations contained in Paragraph 98.

              17            99.    Deny knowledge or information sufficient to form a belief as to the truth of the

              18 allegations contained in Paragraph 99, except admit that Plaintiff Jones is a customer of Robinhood

              19 Financial and Robinhood Securities and entered into a Customer Agreement.
              20            100.   Admit the Plaintiff Jones was a Robinhood Gold subscriber during the March 2020

              21 Outages.

              22            101.   Deny knowledge or information sufficient to form a belief as to the truth of the

              23 allegations contained in Paragraph 101.

              24            102.   Deny knowledge or information sufficient to form a belief as to the truth of the

              25 allegations contained in Paragraph 102.

              26            103.   Deny knowledge or information sufficient to form a belief as to the truth of the

              27 allegations contained in Paragraph 103.

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                  1         104.    Deny knowledge or information sufficient to form a belief as to the truth of the

                  2 allegations contained in Paragraph 104 and note that David Kostenko is no longer a Plaintiff in this

                  3 lawsuit.

                  4         105.    Deny knowledge or information sufficient to form a belief as to the truth of the

                  5 allegations contained in Paragraph 105 and note that David Kostenko is no longer a Plaintiff in this

                  6 lawsuit.

                  7         106.    Deny knowledge or information sufficient to form a belief as to the truth of the

                  8 allegations contained in Paragraph 106 and note that David Kostenko is no longer a Plaintiff in this

                  9 lawsuit.

              10            107.    Deny knowledge or information sufficient to form a belief as to the truth of the

              11 allegations contained in Paragraph 107 and note that David Kostenko is no longer a Plaintiff in this

              12 lawsuit.

              13            108.    Deny knowledge or information sufficient to form a belief as to the truth of the

              14 allegations contained in Paragraph 108 and note that David Kostenko is no longer a Plaintiff in this

              15 lawsuit.

              16            109.    Deny knowledge or information sufficient to form a belief as to the truth of the

              17 allegations contained in Paragraph 109 and note that David Kostenko is no longer a Plaintiff in this

              18 lawsuit.

              19            110.    Deny knowledge or information sufficient to form a belief as to the truth of the
              20 allegations contained in Paragraph 110, except admit that Plaintiff Kuri is a customer of Robinhood

              21 Financial and Robinhood Securities and entered into a Customer Agreement.

              22            111.    Deny knowledge or information sufficient to form a belief as to the truth of the

              23 allegations contained in Paragraph 111.

              24            112.    Deny knowledge or information sufficient to form a belief as to the truth of the

              25 allegations contained in Paragraph 112.

              26            113.    Deny knowledge or information sufficient to form a belief as to the truth of the

              27 allegations contained in Paragraph 113.

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                  1         114.    Deny knowledge or information sufficient to form a belief as to the truth of the

                  2 allegations contained in Paragraph 114.

                  3         115.    Deny knowledge or information sufficient to form a belief as to the truth of the

                  4 allegations contained in Paragraph 115, except admit that Plaintiff Leith is a customer of Robinhood

                  5 Financial and Robinhood Securities and entered into a Customer Agreement.

                  6         116.    Admit the Plaintiff Leith was a Robinhood Gold subscriber during the March 2020

                  7 Outages.

                  8         117.    Deny knowledge or information sufficient to form a belief as to the truth of the

                  9 allegations contained in Paragraph 117.

              10            118.    Deny knowledge or information sufficient to form a belief as to the truth of the

              11 allegations contained in Paragraph 118.

              12            119.    Deny knowledge or information sufficient to form a belief as to the truth of the

              13 allegations contained in Paragraph 119.

              14            120.    Deny knowledge or information sufficient to form a belief as to the truth of the

              15 allegations contained in Paragraph 120.

              16            121.    Deny knowledge or information sufficient to form a belief as to the truth of the

              17 allegations contained in Paragraph 121.

              18            122.    Deny knowledge or information sufficient to form a belief as to the truth of the

              19 allegations contained in Paragraph 122, except admit that Plaintiff Mahrouyan is a customer of
              20 Robinhood Financial and Robinhood Securities and entered into a Customer Agreement.

              21            123.    Admit the Plaintiff Mahrouyan was a Robinhood Gold subscriber during the March

              22 2020 Outages.

              23            124.    Deny knowledge or information sufficient to form a belief as to the truth of the

              24 allegations contained in Paragraph 124.

              25            125.    Deny knowledge or information sufficient to form a belief as to the truth of the

              26 allegations contained in Paragraph 125.

              27            126.    Deny knowledge or information sufficient to form a belief as to the truth of the

              28 allegations contained in Paragraph 126.
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                  1         127.   Deny knowledge or information sufficient to form a belief as to the truth of the

                  2 allegations contained in Paragraph 127.

                  3         128.   Deny knowledge or information sufficient to form a belief as to the truth of the

                  4 allegations contained in Paragraph 128.

                  5         129.   Deny knowledge or information sufficient to form a belief as to the truth of the

                  6 allegations contained in Paragraph 122, except admit that Plaintiff Moghadam is a customer of

                  7 Robinhood Financial and Robinhood Securities and entered into a Customer Agreement.

                  8         130.   Admit the Plaintiff Moghadam was a Robinhood Gold subscriber during the March

                  9 9 Outage.

              10            131.   Deny knowledge or information sufficient to form a belief as to the truth of the

              11 allegations contained in Paragraph 131.

              12            132.   Deny knowledge or information sufficient to form a belief as to the truth of the

              13 allegations contained in Paragraph 132.

              14            133.   Deny knowledge or information sufficient to form a belief as to the truth of the

              15 allegations contained in Paragraph 133.

              16            134.   Deny knowledge or information sufficient to form a belief as to the truth of the

              17 allegations contained in Paragraph 134, except admit that $25,000 is the minimum amount for day

              18 trading under FINRA rules.

              19            135.   Deny knowledge or information sufficient to form a belief as to the truth of the
              20 allegations contained in Paragraph 135, except admit that Plaintiff Morey is a customer of

              21 Robinhood Financial and Robinhood Securities and entered into a Customer Agreement.

              22            136.   Admit the Plaintiff Morey was a Robinhood Gold subscriber during the March 2020

              23 Outages.

              24            137.   Deny knowledge or information sufficient to form a belief as to the truth of the

              25 allegations contained in Paragraph 137.

              26            138.   Deny knowledge or information sufficient to form a belief as to the truth of the

              27 allegations contained in Paragraph 138.

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                  1         139.   Deny knowledge or information sufficient to form a belief as to the truth of the

                  2 allegations contained in Paragraph 139.

                  3         140.   Deny knowledge or information sufficient to form a belief as to the truth of the

                  4 allegations contained in Paragraph 140.

                  5         141.   Deny knowledge or information sufficient to form a belief as to the truth of the

                  6 allegations contained in Paragraph 141.

                  7         142.   Deny knowledge or information sufficient to form a belief as to the truth of the

                  8 allegations contained in Paragraph 142, except admit that Plaintiff Prendergast is a customer of

                  9 Robinhood Financial and Robinhood Securities and entered into a Customer Agreement.

              10            143.   Deny knowledge or information sufficient to form a belief as to the truth of the

              11 allegations contained in Paragraph 143.

              12            144.   Deny knowledge or information sufficient to form a belief as to the truth of the

              13 allegations contained in Paragraph 144.

              14            145.   Deny knowledge or information sufficient to form a belief as to the truth of the

              15 allegations contained in Paragraph 145.

              16            146.   Deny knowledge or information sufficient to form a belief as to the truth of the

              17 allegations contained in Paragraph 146, except admit that Plaintiff Rao is a customer of Robinhood

              18 Financial and Robinhood Securities and entered into a Customer Agreement.

              19            147.   Admit the Plaintiff Rao was a Robinhood Gold subscriber during the March 2020
              20 Outages.

              21            148.   Deny knowledge or information sufficient to form a belief as to the truth of the

              22 allegations contained in Paragraph 148.

              23            149.   Deny knowledge or information sufficient to form a belief as to the truth of the

              24 allegations contained in Paragraph 149.

              25            150.   Deny knowledge or information sufficient to form a belief as to the truth of the

              26 allegations contained in Paragraph 150.

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                  1         151.    Deny knowledge or information sufficient to form a belief as to the truth of the

                  2 allegations contained in Paragraph 151, except admit that Robinhood Financial liquidated some of

                  3 Plaintiff Rao’s positions on March 3, 2020 and March 4, 2020 due to a margin call.

                  4         152.    Deny knowledge or information sufficient to form a belief as to the truth of the

                  5 allegations contained in Paragraph 152, except admit that Plaintiff Riggs is a customer of Robinhood

                  6 Financial and Robinhood Securities and entered into a Customer Agreement.

                  7         153.    Deny knowledge or information sufficient to form a belief as to the truth of the

                  8 allegations contained in Paragraph 153.

                  9         154.    Deny knowledge or information sufficient to form a belief as to the truth of the

              10 allegations contained in Paragraph 154.

              11            155.    Deny knowledge or information sufficient to form a belief as to the truth of the

              12 allegations contained in Paragraph 155.

              13            156.    Deny knowledge or information sufficient to form a belief as to the truth of the

              14 allegations contained in Paragraph 156, except admit that Plaintiff Russell is a customer of

              15 Robinhood Financial and Robinhood Securities and entered into a Customer Agreement.

              16            157.    Deny knowledge or information sufficient to form a belief as to the truth of the

              17 allegations contained in Paragraph 157.

              18            158.    Deny knowledge or information sufficient to form a belief as to the truth of the

              19 allegations contained in Paragraph 158.
              20            159.    Deny knowledge or information sufficient to form a belief as to the truth of the

              21 allegations contained in Paragraph 159.

              22            160.    Deny knowledge or information sufficient to form a belief as to the truth of the

              23 allegations contained in Paragraph 160, except admit that Plaintiff Steinberg is a customer of

              24 Robinhood Financial and Robinhood Securities and entered into a Customer Agreement.

              25            161.    Admit the Plaintiff Steinberg was a Robinhood Gold subscriber during the March

              26 2020 Outages.

              27            162.    Deny knowledge or information sufficient to form a belief as to the truth of the

              28 allegations contained in Paragraph 162.
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                  1         163.    Deny knowledge or information sufficient to form a belief as to the truth of the

                  2 allegations contained in Paragraph 163.

                  3         164.    Deny knowledge or information sufficient to form a belief as to the truth of the

                  4 allegations contained in Paragraph 164.

                  5         165.    Deny knowledge or information sufficient to form a belief as to the truth of the

                  6 allegations contained in Paragraph 165.

                  7         166.    Deny knowledge or information sufficient to form a belief as to the truth of the

                  8 allegations contained in Paragraph 166, except admit that Plaintiff Ward is a customer of Robinhood

                  9 Financial and Robinhood Securities and entered into a Customer Agreement.

              10            167.    Deny knowledge or information sufficient to form a belief as to the truth of the

              11 allegations contained in Paragraph 167.

              12            168.    Deny knowledge or information sufficient to form a belief as to the truth of the

              13 allegations contained in Paragraph 168.

              14            169.    Deny knowledge or information sufficient to form a belief as to the truth of the

              15 allegations contained in Paragraph 169.

              16            170.    Deny knowledge or information sufficient to form a belief as to the truth of the

              17 allegations contained in Paragraph 170.

              18            171.    Deny knowledge or information sufficient to form a belief as to the truth of the

              19 allegations contained in Paragraph 171, except admit that Plaintiff Xia is a customer of Robinhood
              20 Financial and Robinhood Securities and entered into a Customer Agreement.

              21            172.    Deny knowledge or information sufficient to form a belief as to the truth of the

              22 allegations contained in Paragraph 172.

              23            173.    Deny knowledge or information sufficient to form a belief as to the truth of the

              24 allegations contained in Paragraph 173.

              25            174.    Deny knowledge or information sufficient to form a belief as to the truth of the

              26 allegations contained in Paragraph 174.

              27            175.    Deny knowledge or information sufficient to form a belief as to the truth of the

              28 allegations contained in Paragraph 175.
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                  1         176.    Paragraph 176 states legal conclusions and definitional allegations to which no

                  2 response is necessary. To the extent any response to the allegations in Paragraph 176 is necessary,

                  3 Defendants deny them.

                  4         177.    Paragraph 177 states legal conclusions and definitional allegations to which no

                  5 response is necessary. To the extent any response to the allegations in Paragraph 177 is necessary,

                  6 Defendants deny them.

                  7         178.    Paragraph 178 states legal conclusions and definitional allegations to which no

                  8 response is necessary. To the extent any response to the allegations in Paragraph 178 is necessary,

                  9 Defendants deny them.

              10            179.    Paragraph 179 states legal conclusions to which no response is necessary. To the

              11 extent any response to the allegations in Paragraph 179 is necessary, Defendants deny them.

              12            180.    Paragraph 180 states legal conclusions to which no response is necessary. To the

              13 extent any response to the allegations in Paragraph 180 is necessary, Defendants deny them.

              14            181.    Paragraph 181 states legal conclusions to which no response is necessary. To the

              15 extent any response to the allegations in Paragraph 181 is necessary, Defendants deny them.

              16            182.    Paragraph 182 states legal conclusions to which no response is necessary. To the

              17 extent any response to the allegations in Paragraph 182 is necessary, Defendants deny them.

              18            183.    Paragraph 183 states legal conclusions to which no response is necessary. To the

              19 extent any response to the allegations in Paragraph 183 is necessary, Defendants deny them.
              20            184.    Paragraph 184 states legal conclusions to which no response is necessary. To the

              21 extent any response to the allegations in Paragraph 184 is necessary, Defendants deny them.

              22            185.    Paragraph 185 states legal conclusions to which no response is necessary. To the

              23 extent any response to the allegations in Paragraph 185 is necessary, Defendants deny them.

              24            186.    Paragraph 186 states legal conclusions to which no response is necessary. To the

              25 extent any response to the allegations in Paragraph 186 is necessary, Defendants deny them.

              26            187.    Paragraph 187 states legal conclusions to which no response is necessary. To the

              27 extent any response to the allegations in Paragraph 187 is necessary, Defendants deny them.

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                  1         188.    Paragraph 188 states legal conclusions to which no response is necessary. To the

                  2 extent any response to the allegations in Paragraph 188 is necessary, Defendants deny them.

                  3         189.    Paragraph 189 states legal conclusions to which no response is necessary. To the

                  4 extent any response to the allegations in Paragraph 189 is necessary, Defendants deny them.

                  5         190.    Defendants incorporate by reference the responses contained herein.

                  6         191.    Paragraph 191 states legal conclusions to which no response is necessary. To the

                  7 extent any response to the allegations in Paragraph 191 is necessary, Defendants deny them, except

                  8 admit that Robinhood Financial and Robinhood Securities are registered securities investment

                  9 broker-dealers.

              10            192.    Paragraph 192 states legal conclusions to which no response is necessary. To the

              11 extent any response to the allegations in Paragraph 192 is necessary, Defendants deny them.

              12            193.    Paragraph 193 states legal conclusions to which no response is necessary. To the

              13 extent any response to the allegations in Paragraph 193 is necessary, Defendants deny them.

              14            194.    Paragraph 194 states legal conclusions to which no response is necessary. To the

              15 extent any response to the allegations in Paragraph 194 is necessary, Defendants deny them.

              16            195.    Defendants incorporate by reference their answers to Paragraphs 1-189.

              17            196.    Paragraph 196 states legal conclusions to which no response is necessary. To the

              18 extent any response to the allegations in Paragraph 196 is necessary, Defendants deny them, except

              19 admit that Robinhood Financial and Robinhood Securities are registered securities investment
              20 broker-dealers.

              21            197.    Paragraph 197 states legal conclusions to which no response is necessary. To the

              22 extent any response to the allegations in Paragraph 197 is necessary, Defendants deny them.

              23            198.    Paragraph 198 states legal conclusions to which no response is necessary. To the

              24 extent any response to the allegations in Paragraph 198 is necessary, Defendants deny them.

              25            199.    Paragraph 199 states legal conclusions to which no response is necessary. To the

              26 extent any response to the allegations in Paragraph 199 is necessary, Defendants deny them.

              27            200.    Defendants incorporate by reference the responses contained herein.

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                  1         201.    Paragraph 201 states legal conclusions to which no response is necessary. To the

                  2 extent any response to the allegations in Paragraph 201 is necessary, Defendants deny them, except

                  3 admit that Robinhood Financial and Robinhood Securities are registered securities investment

                  4 broker-dealers, admit that Robinhood Financial accepts orders to buy and sell securities and execute

                  5 options, admit that Robinhood Securities executes those orders, and admit that in limited

                  6 circumstances Robinhood Financial closes positions or exercises options in accordance with the

                  7 Customer Agreement.

                  8         202.    Deny the allegations in Paragraph 202, respectfully refer the Court to the Customer

                  9 Agreement for its full and accurate contents and deny any allegation inconsistent therewith.

              10            203.    Paragraph 203 states legal conclusions to which no response is necessary. To the

              11 extent any response to the allegations in Paragraph 203 is necessary, Defendants deny them, except

              12 admit that Robinhood Financial customers can place securities trades through the Robinhood

              13 Trading Platform.

              14            204.    Paragraph 204 states legal conclusions to which no response is necessary. To the

              15 extent any response to the allegations in Paragraph 204 is necessary, Defendants deny them.

              16            205.    Paragraph 205 states legal conclusions to which no response is necessary. To the

              17 extent any response to the allegations in Paragraph 205 is necessary, Defendants deny them.

              18            206.    Defendants incorporate by reference the responses contained herein.

              19            207.    Deny the allegations in Paragraph 207, except admit that a potential customer must
              20 enter into the Customer Agreement with Robinhood, admit that Robinhood has amended the

              21 Customer Agreement on April 28, 2020, and on June 22, 2020, admit that Exhibit B was the

              22 Customer Agreement at the time of the March 2020 Outages, admit that Exhibit C is the April 28,

              23 2020 Customer Agreement, admit that Exhibit D is the June 22, 2020 Customer Agreement, admit

              24 that Exhibit E is the Gold User Agreement, admit that Exhibit F is the Margin and Short Account

              25 Agreement, admit that Exhibit G is the Options Agreement, admit that Exhibit H is the Robinhood

              26 Terms & Conditions, admit that Exhibit I is Robinhood’s Business Continuity Plan Summary, and

              27 respectfully refer the court to the Customer Agreements, Gold User Agreement, Margin and Short

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                  1 Account Agreement, Options Agreement, Robinhood Terms & Conditions, and Robinhood’s

                  2 Business Continuity Plan summary for their full and accurate contents and deny any allegation

                  3 inconsistent therewith.

                  4         208.   Paragraph 208 states legal conclusions to which no response is necessary. To the

                  5 extent any response to the allegations in Paragraph 208 is necessary, Defendants deny them.

                  6         209.   Paragraph 209 states legal conclusions to which no response is necessary. To the

                  7 extent any response to the allegations in Paragraph 209 is necessary, Defendants deny them.

                  8         210.   Paragraph 210 states legal conclusions to which no response is necessary. To the

                  9 extent any response to the allegations in Paragraph 210 is necessary, Defendants deny them,

              10 respectfully refer the Court to the Customer Agreement for its full and accurate contents and deny

              11 any allegation inconsistent therewith.

              12            211.   Paragraph 211 states legal conclusions to which no response is necessary. To the

              13 extent any response to the allegations in Paragraph 211 is necessary, Defendants deny them.

              14            212.   Paragraph 212 states legal conclusions to which no response is necessary. To the

              15 extent any response to the allegations in Paragraph 212 is necessary, Defendants deny them, except

              16 admit that Plaintiffs and Class Members purport to seek specific performance of their contracts.

              17            213.   Defendants incorporate by reference the responses contained herein.

              18            214.   Deny knowledge or information sufficient to form a belief as to the truth of what

              19 “related contracts” Plaintiffs are parties to, and admit that Plaintiffs, Robinhood Financial and
              20 Robinhood Securities are parties to the Customer Agreement.

              21            215.   Paragraph 215 states legal conclusions to which no response is necessary. To the

              22 extent any response to the allegations in Paragraph 215 is necessary, Defendants deny them.

              23            216.   Paragraph 216 states legal conclusions to which no response is necessary. To the

              24 extent any response to the allegations in Paragraph 216 is necessary, Defendants deny them.

              25            217.   Paragraph 217 states legal conclusions to which no response is necessary. To the

              26 extent any response to the allegations in Paragraph 217 is necessary, Defendants deny them, except

              27 admit that Plaintiffs and Class Members purport to seek specific performance of their contracts.

              28            218.   Defendants incorporate by reference their answers to Paragraphs 1-189.
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                  1         219.    Paragraph 219 states legal conclusions to which no response is necessary. To the

                  2 extent any response to the allegations in Paragraph 219 is necessary, Defendants deny them.

                  3         220.    Paragraph 220 states legal conclusions and definitional allegations to which no

                  4 response is necessary. To the extent any response to the allegations in Paragraph 220 is necessary,

                  5 Defendants deny them.

                  6         221.    Paragraph 221 states legal conclusions and definitional allegations to which no

                  7 response is necessary. To the extent any response to the allegations in Paragraph 221 is necessary,

                  8 Defendants deny them.

                  9         222.    Paragraph 222 states legal conclusions to which no response is necessary. To the

              10 extent any response to the allegations in Paragraph 222 is necessary, Defendants deny them.

              11            223.    Paragraph 223 states legal conclusions to which no response is necessary. To the

              12 extent any response to the allegations in Paragraph 223 is necessary, Defendants deny them.

              13            224.    Paragraph 224 states legal conclusions to which no response is necessary. To the

              14 extent any response to the allegations in Paragraph 224 is necessary, Defendants deny them.

              15            225.    Paragraph 225 states legal conclusions to which no response is necessary. To the

              16 extent any response to the allegations in Paragraph 225 is necessary, Defendants deny them.

              17            226.    Paragraph 226 states legal conclusions to which no response is necessary. To the

              18 extent any response to the allegations in Paragraph 226 is necessary, Defendants deny them.

              19            227.    Defendants incorporate by reference their answers to Paragraphs 1-189.
              20            228.    Paragraph 228 states legal conclusions to which no response is necessary. To the

              21 extent any response to the allegations in Paragraph 228 is necessary, Defendants deny them.

              22            229.    Paragraph 229 states legal conclusions to which no response is necessary. To the

              23 extent any response to the allegations in Paragraph 229 is necessary, Defendants deny them.

              24            230.    Paragraph 230 states legal conclusions to which no response is necessary. To the

              25 extent any response to the allegations in Paragraph 230 is necessary, Defendants deny them, except

              26 admit that Plaintiffs and Class members purport to seek an order of the Court requiring refunds,

              27 disgorgement, and restitution and/or the establishment of a constructive trust.

              28            231.    Defendants incorporate by reference their answers to Paragraphs 1-189.
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                  1         232.   Paragraph 232 states legal conclusions to which no response is necessary. To the

                  2 extent any response to the allegations in Paragraph 232 is necessary, Defendants deny them.

                  3         233.   Paragraph 233 states legal conclusions to which no response is necessary. To the

                  4 extent any response to the allegations in Paragraph 233 is necessary, Defendants deny them.

                  5         234.   Paragraph 234 states legal conclusions to which no response is necessary. To the

                  6 extent any response to the allegations in Paragraph 234 is necessary, Defendants deny them.

                  7         235.   Paragraph 235 states legal conclusions to which no response is necessary. To the

                  8 extent any response to the allegations in Paragraph 235 is necessary, Defendants deny them.

                  9         ANSWER TO PRAYER FOR RELIEF

              10            Defendants deny that Plaintiffs, or any plaintiff class, are entitled to the relief requested or

              11 to any relief, and deny any and all other allegations of the Consolidated Class Action Complaint as

              12 specifically admitted above.

              13            ANSWER TO JURY DEMAND

              14            Defendants admit that Plaintiffs demand a trial by jury.

              15            ADDITIONAL DEFENSES

              16            As additional defenses, Defendants allege, assert, and state the following, which apply to

              17 each and every cause of action asserted in the Consolidated Class Action Complaint to which such

              18 defense may be applicable. By virtue of alleging these further defenses, the Robinhood Defendants

              19 do not assume any burden proof, persuasion, or production not otherwise legally assigned to them.
              20 Defendants also do not concede that facts contrary to one or more of the statements that follow

              21 would support liability as to any or all of them. Defendants assert and expressly reserve all rights

              22 to assert any and all other defenses as appropriate, including as may be revealed during the course

              23 of discovery. Use of the term “Plaintiffs” in the defenses refers to the Named Plaintiffs and to any

              24 member of the putative plaintiff class alleged in the Consolidated Class Action Complaint.

              25            FIRST DEFENSE

              26            Plaintiffs fail to state any claim upon which relief can be granted.

              27            SECOND DEFENSE

              28            Plaintiffs’ claims are barred in whole or in part by the doctrines of waiver, laches, and/or
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                  1 estoppel.

                  2        THIRD DEFENSE

                  3        Plaintiffs’ claims are barred in whole or in part by Robinhood’s Customer Agreement.

                  4        FOURTH DEFENSE

                  5        Defendants are not liable because they exercised due care and behaved in a reasonable

                  6 manner.

                  7        FIFTH DEFENSE

                  8        Plaintiffs’ claims are barred in whole or in part by the economic loss rule.

                  9        SIXTH DEFENSE

              10           Defendants are not liable for breach of fiduciary duty because they do not act as a fiduciary

              11 for their customers.

              12           SEVENTH DEFENSE

              13           Plaintiffs’ breach of contract and breach of the implied covenant of good faith and fair

              14 dealing claims fail because Defendants did not breach any provision in the Customer Agreement or

              15 any other contract with Plaintiffs.

              16           EIGHTH DEFENSE

              17           Plaintiffs’ UCL claims are barred because Plaintiffs do not lack adequate remedies at law.

              18           NINTH DEFENSE

              19           Plaintiffs’ unjust enrichment claims are foreclosed by the existence of the Customer
              20 Agreement.

              21           TENTH DEFENSE

              22           Plaintiffs are not entitled to declaratory and injunctive relief because they have not and

              23 cannot demonstrate a real and immediate threat of repeated injury.

              24           ELEVENTH DEFENSE

              25           Plaintiffs’ claims are barred in whole or in part because they did not suffer any injury or

              26 compensable damages.

              27           TWELFTH DEFENSE

              28           Plaintiffs’ claims are barred in whole or in part because they failed to mitigate damages.
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                  1         THIRTEENTH DEFENSE

                  2         Plaintiffs’ claims on behalf of a putative class are barred in whole or in part because the

                  3 applicable requirements of Federal Rule of Civil Procedure 23 are not satisfied.

                  4                                           *       *      *

                  5         WHEREFORE, the Robinhood Defendants respectfully request judgment dismissing the

                  6 Consolidated Class Action Complaint in its entirety and awarding costs and attorneys’ fees, together

                  7 with such other and further relief as the Court deems just and proper.

                  8

                  9

              10 Dated: March 19, 2021                         FARELLA BRAUN + MARTEL LLP

              11
                                                               By:
              12
                                                                     C. Brandon Wisoff
              13
                                                               Attorneys for Defendants
              14                                               ROBINHOOD FINANCIAL LLC;
                                                               ROBINHOOD SECURITIES, LLC
              15

              16
                                                      DEMAND FOR JURY TRIAL
              17
                            PLEASE TAKE NOTICE that Robinhood hereby demands a trial by jury.
              18

              19
                      Dated: March 19, 2021                    FARELLA BRAUN + MARTEL LLP
              20

              21                                               By:
                                                                     C. Brandon Wisoff
              22
                                                               Attorneys for Defendants
              23
                                                               ROBINHOOD FINANCIAL LLC;
              24                                               ROBINHOOD SECURITIES, LLC

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